          Case 3:19-cv-04073-JST Document 57 Filed 08/19/19 Page 1 of 5



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10                                  UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA

12   East Bay Sanctuary Covenant; Al Otro Lado;
     Innovation Law Lab; and Central American                Case No.: 3:19-cv-04073-JST
13   Resource Center in Los Angeles,
14                  Plaintiffs,
15
                    v.
16
     William Barr, Attorney General, in his official         NOTICE OF MOTION AND
17   capacity; U.S. Department of Justice; James             EMERGENCY MOTION TO
     McHenry, Director of the Executive Office for           CONSIDER SUPPLEMENTAL
18   Immigration Review, in his official capacity; the       EVIDENCE AND RESTORE THE
19   Executive Office for Immigration Review; Kevin          NATIONWIDE SCOPE OF THE
     McAleenan, Acting Secretary of Homeland                 INJUNCTION
20   Security, in his official capacity; U.S. Department
     of Homeland Security; Ken Cuccinelli, Acting
21   Director of the U.S. Citizenship and Immigration
     Services, in his official capacity; U.S. Citizenship
22
     and Immigration Services; John Sanders,
23   Commissioner of U.S. Customs and Border
     Protection, in his official capacity; U.S. Customs
24   and Border Protection; Matthew Albence, Acting
     Director of Immigration and Customs
25   Enforcement, in his official capacity; Immigration
     and Customs Enforcement,
26

27                  Defendants.

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          Case 3:19-cv-04073-JST Document 57 Filed 08/19/19 Page 2 of 5



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           Case 3:19-cv-04073-JST Document 57 Filed 08/19/19 Page 3 of 5



 1   TO RESPONDENTS AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that Plaintiffs East Bay Sanctuary Covenant, Al Otro Lado,

 3   Innovation Law Lab, and Central American Resource Center of Los Angeles hereby move the Court

 4   to consider supplemental evidence in support of the necessary scope of preliminary injunctive relief

 5   to remedy Plaintiffs’ harms, and to restore the nationwide scope of the preliminary injunction

 6   entered on July 24, 2019. See ECF No. 42.

 7          This motion is brought pursuant Federal Rule of Civil Procedure 65 and is based on the

 8   accompanying Memorandum in Support and materials cited therein; the pleadings and evidence on

 9   file in this matter; the accompanying declarations; and such other materials and argument as may be

10   presented in connection with the hearing on the motion.

11          The additional declarations Plaintiffs have asked the Court to consider are limited to the

12   scope of the injunction, and are of the same nature as the plaintiff declarations filed in the first East

13   Bay Sanctuary Covenant case, see 18-cv-06810-JST, ECF No. 8-3, 8-4, 8-6, 8-7, as well as the

14   plaintiff declarations filed in this case in support of preliminary injunctive relief, see ECF No. 3-2, 3-

15   3, 3-4, 3-5, which the government did not challenge factually. In light of the irreparable harm that

16   Plaintiffs will face if the Interim Final Rule is not enjoined nationwide, Plaintiffs propose that

17   Defendants’ opposition to this motion be due within 48 hours of this filing, and that Plaintiffs’ reply

18   be due within 24 hours of the filing of Defendants’ opposition. Should the Court wish to hear

19   argument on this motion, Plaintiffs request a hearing on Friday, August 23, 2019, at 2:30 pm.

20          Counsel for Plaintiffs provided notice of their intent to file this motion to Defendants on

21   August 18, 2019, by email to Erez R. Reuveni, Counsel for Defendants. Counsel for Plaintiffs will

22   promptly send a copy of these filings to Mr. Reuveni by email.

23          Counsel for Defendants requested that Plaintiffs submit the following statement on their

24   behalf: Defendants are not able to consent to a schedule without having the opportunity to see what

25   new evidentiary matter Plaintiffs are submitting in support of their motion, as Defendants must

26   determine whether they need to submit evidentiary matter of their own or to request expedited

27   discovery as to Plaintiffs' evidence. Although Plaintiffs contacted Defendants about scheduling,

28   because Defendants cannot review Plaintiffs’ evidence before Plaintiffs file, Defendants propose that
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                                        Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                 Case No.: 3:19-cv-04073
           Case 3:19-cv-04073-JST Document 57 Filed 08/19/19 Page 4 of 5



 1   the Court order the parties to meet and confer on a schedule that reasonably provides both parties

 2   sufficient time to submit or contest evidentiary matters relevant to Plaintiffs’ pending motion.

 3   Defendants do not believe that can be accomplished in the 48 hours Plaintiffs propose Defendants

 4   have to respond, and note that in other cases in which discovery is needed to assess scope of injury,

 5   such proceedings often take months. See, e.g., ECF Nos. 28 and 118, United States v. California, No.

 6   18-490 (E.D. Cal.) (orders providing for expedited discovery period of nine weeks as to issues

 7   related to scope of injury).

 8

 9

10    Dated: August 19, 2019                              Respectfully submitted,

11                                                        /s/ Lee Gelernt
      Katrina Eiland (SBN 275701)                         Lee Gelernt*
12    Cody Wofsy (SBN 294179)                             Omar Jadwat*
13    Spencer Amdur (SBN 320069)                          Anand Balakrishnan*
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                                                                              Case No.: 3:19-cv-04073
          Case 3:19-cv-04073-JST Document 57 Filed 08/19/19 Page 5 of 5



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                                       Mot. to Supplement the Record and Restore Nationwide Relief
                                                                          Case No.: 3:19-cv-04073
        Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 1 of 10



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12   East Bay Sanctuary Covenant; Al Otro Lado;
     Innovation Law Lab; and Central American                Case No.: 3:19-cv-04073-JST
13   Resource Center in Los Angeles,
14                  Plaintiffs,
15
                    v.                                       MEMORANDUM IN SUPPORT OF
16                                                           PLAINTIFFS’ EMERGENCY
     William Barr, Attorney General, in his official         MOTION TO CONSIDER
17   capacity; U.S. Department of Justice; James             SUPPLEMENTAL EVIDENCE AND
     McHenry, Director of the Executive Office for           RESTORE THE NATIONWIDE
18   Immigration Review, in his official capacity; the       SCOPE OF THE INJUNCTION
19   Executive Office for Immigration Review; Kevin
     McAleenan, Acting Secretary of Homeland
20   Security, in his official capacity; U.S. Department
     of Homeland Security; Ken Cuccinelli, Acting
21   Director of the U.S. Citizenship and Immigration
     Services, in his official capacity; U.S. Citizenship
22
     and Immigration Services; John Sanders,
23   Commissioner of U.S. Customs and Border
     Protection, in his official capacity; U.S. Customs
24   and Border Protection; Matthew Albence, Acting
     Director of Immigration and Customs
25   Enforcement, in his official capacity; Immigration
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26

27                  Defendants.

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        Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 2 of 10



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         Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 3 of 10



 1                                             INTRODUCTION

 2          This Court issued an order preliminarily enjoining the challenged Interim Final Rule

 3   nationwide on July 24, 2019. See ECF No. 42. The government sought an administrative stay and a

 4   stay pending appeal from the Ninth Circuit. See No. 19-16487 (9th Cir.), Dkt. 3-1. The Ninth

 5   Circuit motions panel denied the government’s request for an administrative stay that same day. See

 6   id., Dkt. 19. On August 16, 2019, the motions panel denied the government’s request for a stay

 7   “insofar as the injunction applies within the Ninth Circuit.” Id., Dkt. 30 (Order) at 3.

 8          The motions panel did not disturb this Court’s conclusions about Plaintiffs’ likelihood of

 9   success on the merits or the equities, and agreed that the government has “not made the required

10   ‘strong showing’ that they are likely to succeed on the merits on [the notice-and-comment] issue.”

11   Id. However, the motions panel limited the scope of the injunction to the Ninth Circuit. Id.

12   Critically, however, the panel recognized that a nationwide injunction of the Rule could well be

13   appropriate. But before it would uphold nationwide relief in this case, the panel required further

14   record evidence and findings by this Court connecting that scope of relief to Plaintiffs’ injuries. Id.

15   at 3-6. Accordingly, the motions panel provided that “[w]hile [the preliminary injunction] appeal

16   proceeds, the district court retains jurisdiction to further develop the record in support of a

17   preliminary injunction extending beyond the Ninth Circuit.” Id. at 8-9.

18          Consistent with that express permission from the Ninth Circuit, Plaintiffs now respectfully

19   request that the Court consider additional evidence in support of a nationwide injunction, and, based

20   on supplemental findings of fact, restore the nationwide scope of the preliminary injunction. 1

21   Absent nationwide relief, the serious and irreparable harm to Plaintiffs caused by the Rule cannot be

22   fully remedied.

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               Given the panel’s clear acknowledgment that this Court retains jurisdiction to revisit the
24   proper scope of the injunction, there is no jurisdictional bar to this Court restoring the nationwide
     scope of the preliminary injunction based on further factual findings. See Order at 8-9; id. at 9
25   (“Because the record is insufficiently developed as to the question of the national scope of the
26   injunction, we vacate the injunction to the extent that it applies outside California and remand to the
     district court for a more searching inquiry into whether this case justifies the breadth of the
27   injunction imposed.”) (quoting City & County of San Francisco v. Trump, 897 F.3d 1225, 1245 (9th
     Cir. 2018)); see also Fed. R. Civ. Proc. 62(d) (permitting district courts to “modify, restore, or grant
28   an injunction” even while an interlocutory appeal is pending).
                                                       1
                       Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                    Case No.: 3:19-cv-04073
         Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 4 of 10



 1                                               ARGUMENT

 2      I.      Nationwide Relief Is Necessary to Remedy Plaintiffs’ Injuries.

 3           As the Ninth Circuit motions panel confirmed, nationwide injunctions will be upheld where

 4   they are “necessary to remedy a plaintiff’s harm.” Order at 4. The declarations accompanying this

 5   motion—which supplement the declarations filed by Plaintiffs in support of their motion for a

 6   temporary restraining order, see ECF No. 3-2, 3-3, 3-4, 3-5—clearly demonstrate that the injunction

 7   in this case must be nationwide “to remedy the specific harm shown” to Plaintiffs. Order at 4

 8   (quoting City and County of San Francisco v. Trump, 897 F.3d 1225, 1243-45 (9th Cir. 2018)).

 9           As set forth below, Plaintiffs have specific reasons why a nationwide injunction is necessary

10   to remedy the harms to their organizations. But one common theme is that asylum seekers

11   frequently do not enter the country and complete their asylum proceedings within the same circuit,

12   and it is not possible to predict asylum seekers’ movements in advance. For instance, an asylum

13   seeker may enter the U.S. through Texas, have a credible fear interview in New Jersey, and

14   ultimately apply for asylum in California. See Alvarez Decl. ¶ 6; Supp. Manning Decl. ¶¶ 12, 16.

15   The Declaration of Aaron Reichlin-Melnick discusses the reasons for and frequency with which this

16   movement occurs. The declarations from each of the four Plaintiffs discuss these scenarios as they

17   relate to the organization’s work.

18           Innovation Law Lab: Law Lab’s operations are not limited to the Ninth Circuit. In addition

19   to its work in the Ninth Circuit, Law Lab has offices in Georgia, Missouri, and Texas; operates pro

20   bono representation projects in Georgia, Kansas, Missouri, and North Carolina, with expansion

21   underway to New Mexico; and provides direct representation to persons applying for asylum outside

22   the Ninth Circuit. See Supp. Manning Decl. ¶¶ 4-5. And six of the seven detention centers at which

23   Law Lab regularly works are outside the Ninth Circuit. Id. ¶ 19. Given Law Lab’s national scope,

24   an injunction limited to the Ninth Circuit would not fully remedy the harm to the organization.

25           First, because Law Lab provides training, materials, and overall legal assistance to other

26   organizations and asylum seekers throughout the country, the harm to Law Lab will not be remedied

27   by an injunction limited to the Ninth Circuit. Among other things, Law Lab currently uses

28   synchronized templates and materials across its program sites. A geographically limited injunction
                                                     2
                    Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                              Case No.: 3:19-cv-04073
         Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 5 of 10



 1   will force it to abandon this practice, and will require it to meaningfully restructure its operations to

 2   effectively serve persons who are subject to the transit ban as well as persons who are not. Id. ¶¶ 7-

 3   8, 13-14, 20.

 4           Second, the fact that Law Lab directly represents individuals outside the Ninth Circuit means

 5   that an injunction limited to the Ninth Circuit is insufficient. Id. ¶ 15.

 6           Moreover, providing legal guidance and assistance to persons subject to the Rule will be a

 7   significant burden on Law Lab employee time and program operations, as these persons will now

 8   only be eligible for withholding of removal and relief under the Convention Against Torture. Those

 9   forms of relief are more time consuming than asylum to pursue, as they involve higher burdens of

10   proof than asylum and require the development of distinct and more in-depth legal analyses. They

11   also do not permit derivative applications to be filed on behalf of family members. In addition, Law

12   Lab will have to retrain its volunteers on these forms of relief and adjust how it screens individuals

13   for relief. Id. ¶¶ 9, 11.

14           And, importantly, because asylum seekers often move between different locations—and

15   between judicial circuits—during their proceedings, Law Lab’s ability to provide legal assistance

16   workshops will be hindered. Id. ¶¶ 12, 16. For instance, at Law Lab’s workshops in Tijuana for

17   individuals about to seek asylum in the U.S., Law Lab will have to provide guidance about a Rule

18   that might apply at different points throughout their asylum cases, depending on where they

19   ultimately cross the border or where they end up once in the U.S. Indeed, the number of asylum

20   seekers Law Lab serves in Tijuana who end up in detention centers in Louisiana and Mississippi has

21   been significantly increasing. Id. ¶ 12. See also Reichlin-Melnick Decl. (discussing movement of

22   asylum seekers across jurisdictions). 2 As a result, it will now be impossible simply to provide all of

23   these asylum seekers and their legal representatives with one set of guidelines.

24

25           2
              The Reichlin-Melnick declaration analyzes recent statistics from the Department of
     Homeland Security (“DHS”) and Executive Office for Immigration Review demonstrating that
26   asylum seekers frequently move throughout the country during the asylum process, either by their
27   choice or because DHS transfers detained asylum seekers from one detention center to another. This
     data reveals that there is almost no connection between asylum seekers’ place of entry and ultimate
28   destination. Reichlin-Melnick Decl. ¶¶ 5-6, 14-15.
                                                      3
                      Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                Case No.: 3:19-cv-04073
         Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 6 of 10



 1          Finally, an injunction limited to the Ninth Circuit not only will frustrate Law Lab’s

 2   operations outside the Ninth Circuit, but will adversely impact its programs within the Ninth Circuit

 3   as well. Because serving individuals affected by the Rule’s categorical ban is so time consuming,

 4   Law Lab will have to direct significant resources towards their representation, which will negatively

 5   affect clients in the Ninth Circuit and may force Law Lab to serve fewer people overall. Supp.

 6   Manning Decl. ¶ 17.

 7          East Bay Sanctuary Covenant (“EBSC”): The harms caused to EBSC by the Rule, see ECF

 8   No. 3-2, will persist if the Rule is allowed to go into effect everywhere other than the Ninth Circuit.

 9   See Supp. Smith Decl. ¶ 4. Part of EBSC’s mission is to serve clients in affirmative asylum cases,

10   regardless of where they entered the United States. Accordingly, EBSC serves clients who enter the

11   United States anywhere in the country, not just the Ninth Circuit. A sizable portion of EBSC’s

12   clients enter the United States outside the Ninth Circuit’s geographic boundaries and then end up in

13   California, where they apply for asylum. More than 22% of EBSC’s affirmative asylum applications

14   filed in 2019 were on behalf of clients who transited through Mexico without applying for protection

15   there and then entered the United States in Texas or New Mexico, i.e., outside the Ninth Circuit. If

16   the organization is unable to serve a sizable portion of its client base in affirmative asylum cases, its

17   mission will be frustrated, and a core part of its operations will be undermined. Id. ¶¶ 5, 7.

18          For the same reason, an injunction limited to the Ninth Circuit also jeopardizes EBSC’s

19   funding streams. Pursuant to a grant from the California Department of Social Services (“CDSS”),

20   EBSC receives $2,000 for every affirmative asylum case it files. If, because of the Rule, EBSC is no

21   longer able to handle affirmative asylum cases for individuals who transit through a third country en

22   route to the southern border and enter outside the Ninth Circuit, the organization likely will face a

23   marked decrease in its budget. Indeed, if the Rule is allowed to remain in effect outside the Ninth

24   Circuit, EBSC estimates that it could lose up to $50,000 under the terms of its CDSS grant during

25   the rest of 2019 and up to $100,000 in 2020. Id. ¶ 8.

26          Because of the strain imposed on EBSC if the Rule remains in effect outside of the Ninth

27   Circuit, EBSC will either have to significantly cut its affirmative asylum program and staff, or

28   overhaul its program to provide types of assistance it is not currently equipped or trained to provide.
                                                      4
                     Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                  Case No.: 3:19-cv-04073
           Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 7 of 10



 1   Id. ¶ 9. Notably, EBSC does not currently have sufficient capacity or expertise to handle

 2   applications for humanitarian relief in the removal context. Yet to continue serving clients affected

 3   by the Rule, EBSC will have to shift to representing those individuals in removal cases. Doing so

 4   would be extremely resource intensive for EBSC. Id. ¶ 10. EBSC will also be burdened by having

 5   to provide different services to those subject to the Rule and those not subject to the Rule. Id. ¶¶ 12-

 6   13.

 7           CARECEN: The injuries inflicted on CARECEN by the Rule, see ECF No. 3-5, will persist

 8   if the Rule is not enjoined nationwide, see Alvarez Decl. ¶ 4. CARECEN represents Central

 9   American asylum seekers regardless of where they enter the United States. Nearly all of

10   CARECEN’s current asylum clients entered through the southern border after transiting through a

11   third country without applying for protection there, and at least 60% of those individuals entered

12   outside of the Ninth Circuit. Id. ¶ 5. Thus, the majority of CARECEN’s asylum clients could still be

13   subject to the Rule’s categorical bar on asylum under an injunction limited to the Ninth Circuit. Id.

14   CARECEN would be forced to divert significant resources to serve these clients, as they would only

15   be eligible for far more resource-intensive forms of relief, such as withholding and CAT protection.

16   Id. ¶¶ 8-9. Despite having to devote significantly increased resources to such applications,

17   CARECEN’s main source of funding for its asylum work pays a fixed amount per case. This will

18   significantly strain the organization’s budget. Id. ¶ 9.

19           In addition, CARECEN will have to undertake time consuming screening efforts to

20   determine whether a prospective client is subject to the Rule under a geographically limited

21   injunction. Prospective clients who call CARECEN’s offices for representation frequently do not

22   have paperwork showing where they entered the country or have other geographical information that

23   may be relevant to the applicability of the Rule. Id. ¶ 11. CARECEN staff therefore will have to do

24   additional investigation and screening to determine whether the Rule is likely to apply. Id. It will

25   also have to bifurcate its operations to provide different services to those subject to the Rule and

26   those not subject to it. Id. ¶¶ 10-11.

27           Al Otro Lado: Al Otro Lado will continue to suffer injuries if the Rule is enjoined only in the

28   Ninth Circuit. See ECF No. 3-3; Ramos Decl. ¶¶ 3-4. Of the thousands of noncitizens Al Otro Lado
                                                  5
                     Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                            Case No.: 3:19-cv-04073
            Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 8 of 10



 1   serves through its offices in Tijuana, Mexico, not all cross the border in the Ninth Circuit. Rather,

 2   some ultimately enter the United States elsewhere, including Texas and New Mexico. Id. ¶ 5. It is

 3   impossible for Al Otro Lado to know with certainty ex ante where a given asylum seeker whom they

 4   serve will ultimately enter the United States. Id. ¶¶ 5-8. 3 As a result, they will now have to provide

 5   burdensome additional guidance to ensure that individuals understand the Rule’s impact in different

 6   parts of the United States. Id. ¶¶ 9-10.

 7                Likewise, Al Otro Lado serves individuals who end up outside the Ninth Circuit for their

 8   asylum proceedings. Al Otro Lado clients who entered the United States along the southern border

 9   in California have ended up in Colorado, Georgia, Maine, Maryland, Michigan, Minnesota, and

10   Wisconsin. Id. ¶ 6. This cross-circuit movement happens because of where the government chooses

11   to detain a given asylum seeker, or because of where a given asylum seeker goes to live after release

12   from detention. Id. See also Reichlin-Melnick Decl. In Al Otro Lado’s experience, this cross-

13   circuit movement is quite common, particularly for unaccompanied minors. Ramos Decl. ¶ 7. As

14   with the uncertainty about ultimate border-crossing locations, it is impossible for Al Otro Lado to

15   know for certain where an individual they advise will end up once they are in the United States. Id.

16   ¶ 8.

17                As a result, if the Rule is only enjoined in certain parts of the country, rather than nationwide,

18   Al Otro Lado will have to advise asylum seekers without knowing whether they will ultimately be

19   subject to the Rule’s categorical asylum bar or not. To fulfill their professional obligations, Al Otro

20   Lado will have to account for all possibilities in giving advice. Having to do so will require Al Otro

21   Lado to expend significant organizational resources regarding training materials, staff time, and

22   capacity, and would create a serious burden for the organization. Id. ¶¶ 9-10.

23          II.       Nationwide Relief Is Appropriate on the Record Here.

24                This Court and the Ninth Circuit concluded that the first asylum ban was likely unlawful and

25   enjoined it nationwide. The Supreme Court did not disturb that conclusion and let stand the

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                  3
27            Likewise, Law Lab’s declaration makes the same point that the organization does not know
     in advance where asylum seekers it serves in Mexico will enter the U.S. or where they will travel
28   around the country during the asylum process. Supp. Manning Decl. ¶¶ 12, 16.
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                    Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                Case No.: 3:19-cv-04073
         Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 9 of 10



 1   injunction’s nationwide scope. See Trump v. East Bay Sanctuary Covenant, 139 S.Ct. 782 (2018)

 2   (denying stay). The record of harm to Plaintiffs absent a nationwide injunction, as supplemented, is

 3   even stronger than the record in that case. The Court should therefore reinstate the nationwide

 4   injunction to remedy Plaintiffs’ injuries. Moreover, the public interest calculation—which the stay

 5   panel did not disturb—strongly favors a nationwide injunction given the grave harm individual

 6   migrants will face.

 7                                             CONCLUSION

 8          For the foregoing reasons, Plaintiffs’ motion should be granted.

 9

10    Dated: August 19, 2019                             Respectfully submitted,

11                                                       /s/ Lee Gelernt
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                     Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
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       Case 3:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 10 of 10



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 8   ** Pro hac vice application forthcoming
 9

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                    Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                          Case No.: 3:19-cv-04073
           Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 1 of 9



    SUPPLEMENTAL DECLARATION OF STEPHEN W. MANNING, EXECUTIVE
                  DIRECTOR, INNOVATION LAW LAB

          I, Stephen W. Manning, declare as follows:

          1.     I am an attorney licensed to practice in the State of Oregon and am a member in

good standing of the bars of the United States District Court for the District of Oregon, the United

States Court of Appeals for the Ninth Circuit, and the Supreme Court of the United States. I am a

member of the American Immigration Lawyers Association (“AILA”), a former member of the

Board of Governors of AILA, and a former Chair of the Oregon Chapter of AILA. I am over 18

and have personal knowledge of the facts described herein.

          2.     I am the Executive Director of the Innovation Law Lab (“Law Lab”), a nonprofit

in Oregon that I founded to improve the legal rights of immigrants and refugees in the United

States.

          3.     I previously submitted a declaration in this matter. See East Bay Sanctuary

Covenant v. Barr, No. 3:19-cv-04073-JST (N.D. Cal.) ECF No. 3-4 (July 17, 2019). This

declaration supplements that first declaration.

          4.     As I described in my previous declaration, Law Lab has an office in Oakland,

California, in addition to offices throughout the United States, including Portland, Oregon; Atlanta,

Georgia; San Diego, California; Kansas City, Missouri and San Antonio and El Paso, Texas.

          5.     Law Lab operates pro bono representation projects called Centers of Excellence,

which provide support to noncitizens and their pro bono attorneys including legal, technical, and

strategic assistance in the preparation and presentation of claims, in Georgia, Kansas, Missouri,

North Carolina, and Oregon, with expansion underway to New Mexico and California. Our

BorderX project uses technology and collaboration tools to provide support to legal service

providers at immigrant detention centers throughout the United States and, under a recent
         Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 2 of 9



expansion, at several sites on both sides of the U.S.-Mexico border. On August 1, 2019, we opened

an office in El Paso, Texas as part of our membership in the El Paso Immigration Collaborative

(EPIC), which provides legal services and representation to all release-eligible asylum seekers

detained at five detention centers in the El Paso jurisdiction. We also provide direct representation

to persons applying for asylum inside the Ninth Circuit and outside the Ninth Circuit.

       6.      If the asylum transit ban went into effect in jurisdictions outside of the Ninth

Circuit, there would be an immediate and significant detrimental effect on Law Lab’s ability to

serve clients and maintain its programs across the country.

       7.      Law Lab’s programming has a national reach not only because of our diverse

geographic locations, but also because we operate our programs collaboratively across program

sites. For example, Law Lab operates pro se asylum workshops in Atlanta, Georgia; Kansas City,

Missouri; Portland, Oregon; Tijuana, Mexico; and at the U.S.-Mexico border. Our Atlanta project

was the first to launch the asylum workshop concept, and templates and materials developed there

are used across our other program sites. If for example people fleeing persecution in Atlanta were

subject to the asylum transit ban, while people fleeing persecution in Portland were not, Law Lab

could no longer use synchronized materials across its asylum workshops.

       8.      Law Lab employees also regularly staff these workshops at all of our sites,

particularly in Atlanta, Portland, and Tijuana. We hold asylum workshops on a monthly basis in

Atlanta and Portland, and, in collaboration with partner organization Al Otro Lado, several times

a month in Tijuana. Law Lab attorneys and accredited representatives coordinate and implement

the workshops, and also directly provide some legal services and advice to immigrant attendees.

Our workshops in Atlanta and Portland almost always have attendees who have crossed the border

both within and outside of the Ninth Circuit. If the asylum transit ban were in place in parts of the




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         Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 3 of 9



border, but not others, our asylum workshops would have to be meaningfully restructured in order

to effectively serve persons who are subject to the transit ban and persons who are not.

       9.      Providing legal guidance and asylum application assistance to persons subject to

the transit ban at these workshops would be a significant burden on Law Lab employee time and

program operations. The majority of persons served at these workshops are Central American

asylum seekers who would be subject to the asylum transit ban. First, Law Lab would have to

spend additional time developing the facts and legal theories for asylum applicants subject to the

transit ban, as these applicants would be eligible only for withholding of removal and relief under

the Convention Against Torture (CAT). Withholding and CAT have a higher burden of proof than

asylum, and these applications would require the development of entirely distinct and more in-

depth legal analyses. Law Lab staff supervise and train attorney and accredited representative

volunteers at these workshops, and would have to devote significant time to re-training these

volunteers on the new standards and how to screen for attendees who might be subject to the ban.

       10.     For example, just this weekend, Law Lab operated a pro se asylum workshop in

Atlanta for persons seeking asylum. The workshop is part of a regular series of programming. Our

staff—based in Georgia, California, Missouri, Florida, Washington, and Oregon--spent many

hours training volunteers on law, process, and our materials; preparing technology for use in the

workshops; and preparing individual clients and client applications in order for the workshop to

be successful. However, because we used a centralized set of training materials and technology—

all of which are designed around a uniform application of the asylum regulations—the workshop

was likely for nothing and will have to be redone. Before it can be redone, though, we will have

to divert resources from other projects to re-programming because the injunction does not apply

nationwide.




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         Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 4 of 9



       11.       Additionally, most of the persons fleeing persecution who we serve at our

workshops are in family units. Often a nuclear family can file a single asylum application, with

the spouse and minor children benefiting as derivatives. But because withholding of removal and

CAT do not allow derivative relief, every member of a family subject to the transit ban would have

to file a separate application. This would limit Law Lab’s workshop capacity significantly—

instead of completing eight applications for eight families, for example, we might only have

capacity to complete eight applications for two families with four members each.

       12.       The workshops in Tijuana, which provide legal guidance to persons who are about

to seek asylum, would also be hindered because we would have to provide guidance about a rule

that might apply to people at different points throughout their asylum cases. In my experience, it

is not uncommon for a person fleeing persecution to cross the border at a different location than

the one in which they had sought legal advice. Additionally, the state in which a person initially

requests asylum is often not the same state where they will be detained, have their credible fear

interview, or have their case heard on the merits in immigration court. Therefore, even at our

workshops in Tijuana, where most people anticipate seeking asylum at a border within the Ninth

Circuit, we would need to create and provide guidance about the implications of the asylum transit

ban for every individual seeking assistance. Specifically, there has been a significant increase of

asylum seekers that Law Lab has provided guidance to in Tijuana that end up in detention centers

in Louisiana and Mississippi, despite the fact that they entered the US to request asylum in the

Ninth Circuit.

       13.       We intend to replicate the Tijuana workshops, materials and specialized technology

that Law Lab developed to serve asylum seekers along the U.S.-Mexico border—both inside and

outside the Ninth Circuit. For example, in late July, Law Lab began to implement an expansion of




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         Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 5 of 9



its services to asylum seekers using the Tijuana project as our model with a focus on Ciudad Juarez.

Given our very limited financial resources and staff, the program expansion would likely only be

scalable if we could replicate our Tijuana workshops, materials, and specialized technology at the

sites in Ciudad Juarez.

       14.     In addition to materials used at nationwide asylum workshops, Law Lab creates

written materials and technology for use across our Centers of Excellence pro bono programs, our

BorderX detention project, and other initiatives that serve people fleeing persecution throughout

the United States. These materials include printed guides, worksheets, training videos, self-help

videos, and other resources that are used around the country. If the asylum transit ban were to

apply to people fleeing persecution outside of the Ninth Circuit, Law Lab would have to

substantially revise its materials across programs, and create bifurcated resources going forward.

For example, Law Lab is just finishing several months of work on a short client-targeted video

that explains the elements of asylum in plain language. We planned to use this video as an

educational tool and distribute it widely amongst our partners and amongst communities of persons

fleeing persecution. If the asylum transit ban is allowed to go into effect, the video will be

essentially useless, since the ban adds an additional element to asylum eligibility that the video

does not discuss. To create an effective resource going forward, Law Lab would have to entirely

re-work the initial video, and likely create two versions for use inside and outside the Ninth Circuit.

       15.     Though Law Lab focuses its work on building effective and scalable representation

programs, we also engage in direct representation cases when necessary to serve our mission. For

example, I represented eighty men fleeing persecution who were held at the Sheridan Federal

Correctional Institute in Sheridan, Oregon, in the summer of 2018; 100% of my clients passed

their credible fear interviews and 97% were subsequently released from detention on bond or




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         Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 6 of 9



parole. Law Lab continues to directly represent clients who were previously detained at Sheridan,

and also directly represents clients in jurisdictions outside of the Ninth Circuit. If the asylum

transit ban were to go into effect outside the Ninth Circuit, our limited direct representation work

would become significantly more complicated and burdensome.

       16.     Additionally, the clients served by Law Lab’s programs do not complete their

immigration case in a single jurisdiction. It is possible that a client would move seamlessly

between our program sites—and thus between different judicial circuits—as their case progresses.

A person fleeing persecution might receive a legal orientation and services at a workshop

supported by Law Lab in Tijuana, Mexico; obtain release on bond or parole from a detention center

in Texas with assistance from our BorderX project; and complete their asylum application at a

Law Lab-run legal workshop in Atlanta, Georgia. Many persons served by Law Lab programs

move between jurisdictions throughout the lifetime of their asylum case as well. In my experience,

such movement between jurisdictions is common for asylum seekers.

       17.     Law Lab’s programs within the Ninth Circuit will also be adversely impacted if the

asylum transit ban rule goes into effect in other jurisdictions. Law Lab coordinates the Equity

Corps of Oregon, which is the region’s first government-funded universal representation program.

A high number—likely close to 90 percent—of the Equity Corps’ clients are people who are

fleeing persecution, many of whom arrived recently to the United States. Equity Corps’ asylum

clients enter the United States to seek protection at or in between ports of entry across the U.S.-

Mexico border, and a significant percentage of these clients first entered the United States in Texas

or New Mexico. If the asylum transit ban rule went into effect outside the Ninth Circuit, Equity

Corps might have to shift significant resources towards representation of clients who entered the

country in Texas or New Mexico and are subject to the ban. These resources would include both




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         Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 7 of 9



the devotion of additional time to withholding of removal and Convention Against Torture

applications for these clients, who would not be eligible for asylum, and also re-working of case

templates, resources, and materials to account for eligibility differences based on place of entry.

This resource diversion would negatively affect other clients within the Equity Corps program,

and also would harm the program as a whole, which could be forced to serve fewer people overall

because of the increased time burden required for a subset of cases.

       18.     Law Lab’s work providing strategic support, limited legal assistance, and advocacy

in the cases of people fleeing persecution who were forcibly returned to Mexico under the “Migrant

Protection Protocols” (MPP) program would be dramatically impacted if the asylum transit ban

rule went into effect outside of the Ninth Circuit. Law Lab works directly with people subject to

MPP whose cases are heard in San Diego, California and El Paso, Texas; we also consult with

projects that are providing assistance in Laredo, Texas and Brownsville, Texas. Because Mexican

nationals cannot be subject to MPP, all of the cases we support in this work are asylum cases where

the applicant traveled or resided in a country other than their country of origin before seeking

asylum in the United States. Therefore, nearly all individuals subject to MPP outside of the Ninth

Circuit would potentially be subject to the asylum transit ban while also facing the significant

challenges that the MPP poses in litigating their asylum cases. This combination would make our

work in El Paso and our consulting in Laredo and Brownsville significantly more burdensome.

       19.     Finally, our BorderX and EPIC programs would be significantly harmed if the

asylum transit ban rule went into effect outside the Ninth Circuit. BorderX works regularly in

seven immigrant detention centers, six of which are outside of the Ninth Circuit. As I noted in my

prior declaration, 100% of the noncitizens BorderX serves are asylum seekers, the majority of

whom transited through a third country before arriving to the United States. If the rule were to go




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         Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 8 of 9



into effect outside of the Ninth Circuit, work in at least six of BorderX’s program sites would

significantly increase in difficulty, as release eligibility would be severely limited, if not

eliminated, for many of our clients, and the program would have to develop alternative (and time

consuming) release strategies for clients detained in those facilities. That is because release

eligibility turns to a significant degree on eligibility for asylum. BorderX, like our other programs,

would also have to change its templates, materials, and guidance to account for the different

eligibility regimes that would govern clients based on place of entry to the United States and place

of detention.

        20.     In short, Law Lab’s work is national, not only in terms of program sites and direct

representation of clients where necessary, but also the ways that our projects work together to

provide high-quality resources to unrepresented asylum seekers, pro bono attorneys, and other

representation projects. Allowing the asylum transit ban to go into effect outside the Ninth Circuit

would not only harm our multiple programs in place outside the Ninth Circuit, but would also harm

our organization’s ability to employ a unified approach to our strategic programs. To fully remedy

the harms the Rule will inflict on Law Lab, the Rule would need to be enjoined nationwide, not

just in the Ninth Circuit.

        21.     Finally, had Law Lab been provided the opportunity to comment on the Rule

before it went into effect, Law Lab would have submitted comments about why the Rule is

unlawful and factually unsupported, and why it must be rescinded nationwide.




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        Case 3:19-cv-04073-JST Document 57-2 Filed 08/19/19 Page 9 of 9



       I hereby declare under the penalty of perjury pursuant to the laws of the United States that

the above is true and correct to the best of my knowledge.

       EXECUTED this 18th day of August, 2019.




                                                 Stephen W. Manning, OSB #013373




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Case 3:19-cv-04073-JST Document 57-3 Filed 08/19/19 Page 1 of 4
Case 3:19-cv-04073-JST Document 57-3 Filed 08/19/19 Page 2 of 4
Case 3:19-cv-04073-JST Document 57-3 Filed 08/19/19 Page 3 of 4
Case 3:19-cv-04073-JST Document 57-3 Filed 08/19/19 Page 4 of 4
Case 3:19-cv-04073-JST Document 57-4 Filed 08/19/19 Page 1 of 4
Case 3:19-cv-04073-JST Document 57-4 Filed 08/19/19 Page 2 of 4
Case 3:19-cv-04073-JST Document 57-4 Filed 08/19/19 Page 3 of 4
Case 3:19-cv-04073-JST Document 57-4 Filed 08/19/19 Page 4 of 4
Case 3:19-cv-04073-JST Document 57-5 Filed 08/19/19 Page 1 of 4
Case 3:19-cv-04073-JST Document 57-5 Filed 08/19/19 Page 2 of 4
Case 3:19-cv-04073-JST Document 57-5 Filed 08/19/19 Page 3 of 4
Case 3:19-cv-04073-JST Document 57-5 Filed 08/19/19 Page 4 of 4
         Case 3:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 1 of 5



                    DECLARATION OF AARON REICHLIN-MELNICK

1.   I, Aaron Reichlin-Melnick, make the following declaration based on my personal

knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the

following is true and correct.

2.   I am a policy analyst at the American Immigration Council (“Immigration Council”), a

nonprofit and non-partisan organization whose mission includes the use of facts to educate the

public on the important and enduring contributions that immigrants make to America. At the

Immigration Council, I track and analyze immigration-related statistics produced by the

Department of Homeland Security (“DHS”) and the Executive Office for Immigration Review

(“EOIR”), including trends in the processing of asylum seekers and the case outcomes for

individuals placed in removal proceedings.

3.   I am familiar with the relevant public statistics published by DHS and EOIR and the

methodology that DHS and EOIR use to produce statistics relating to the processing of asylum

seekers and to the outcomes of immigration court proceedings. I have previously submitted

declarations analyzing government-produced immigration statistics in Innovation Law Lab v.

McAleenan, 3:19-cv-00807-RS (N.D. Cal. filed Feb. 14, 2019) and Padilla v. ICE, No. 2:18-cv-

00928-MJP (W.D. Wash. filed June 25, 2018).

4.   In preparation for this declaration I have extensively reviewed public statistics on motions to

change venue or transfer in immigration court, as well as information on asylum seekers’

movements inside the United States after entry. I have also reviewed the Ninth Circuit’s stay

decision in this case, as well as this Court’s decision to grant a preliminary injunction.

5.   The data I analyzed reveals that motions to change venue or transfer in immigration court

are routine. Immigrants frequently move from one jurisdiction to another, either of their own free



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         Case 3:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 2 of 5



will or because Immigration and Customs Enforcement (ICE) transfers them from one detention

center to another.

6.   In addition, the location where an asylum seeker enters the United States does not

necessarily correspond to his or her final location once inside the country. Many asylum seekers

who arrive at the border in California or Arizona will move outside the Ninth Circuit’s

jurisdiction, just as many asylum seekers who arrive at the border in New Mexico or Texas will

move inside the Ninth Circuit’s jurisdiction. Some asylum seekers in DHS custody may even be

moved into and out of the Ninth Circuit’s jurisdiction more than once.



                 Immigrants Routinely Change Venue in Immigration Court

7.   Initial jurisdiction for an immigration court proceeding is set by DHS with the filing of a

Notice to Appear. 8 C.F.R. § 1003.14(a). Once the Notice to Appear has been filed, “venue shall

lie at the Immigration Court where jurisdiction vests,” 8 C.F.R. § 1003.20(a), and may only be

changed following a motion by one of the parties. 8 C.F.R. § 1003.20(b).

8.   Where DHS moves a detained immigrant to a new immigration court jurisdiction, it is

required to notify EOIR of the transfer. 8 C.F.R. § 1003.19(g). EOIR reports that change in

jurisdiction as a “transfer.” EOIR has defined “transfer” as “The Department of Homeland

Security’s moving of detained aliens between detention facilities or the administrative transfer of

an alien’s case from one hearing location to another.” EOIR, 2016 Statistics Yearbook (2017), at

Glossary 12. Because EOIR reports “changes of venue” separately from “transfers,” it is possible

to determine the minimum percentage of jurisdictional changes that occurred at DHS’s behest

following the physical transfer of an individual in DHS custody from one jurisdiction to another.




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            Case 3:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 3 of 5



9.     In fiscal year 2017—the most recent year where statistics are available—a total of 115,533

motions to change venue or transfer were granted in immigration court, divided between 68,949

successful change of venue motions and 46,584 transfers. EOIR, 2017 Statistics Yearbook

(2018), at 15.

10. As shown in Figure 1, between 2008 and 2017, changes in jurisdiction (successful changes

of venue and transfers) grew by 182 percent. EOIR, 2012 Statistics Yearbook (2013), at D5.

Changes of venue increased by 193 percent (from 23,550 in 2008), and transfers increased by

168 percent (from 17,386 in 2008). This growth corresponds with the overall growth of both

immigration detention and the immigration court backlogs as a whole.

                     Figure 1: Motions to Change Venue/Transfer by Fiscal Year
     Source: EOIR, Statistics Yearbook 2017 (2018), at 15; EOIR, Statistics Yearbook 2012 (2013), at D5.

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                       24927
               23550



                       23485

                                23317
              17386




 10000

        0
              2008     2009     2010      2011     2012     2013      2014        2015      2016      2017
                                         Changes of Venue     Transfers


11. EOIR also provides court-level data on changes of venue and transfers. Using this data, it is

possible to determine what percent of jurisdictional changes are granted inside the Ninth Circuit

and outside the Ninth Circuit.


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         Case 3:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 4 of 5



12. In Fiscal Year 2017, 24.4 percent of motions to change venue or transfer (28,237) were

granted in immigration courts inside the Ninth Circuit, compared to 75.6 percent (87,296)

granted in immigration courts outside the Ninth Circuit (see Figure 2).

Figure 2: Change of Venue and Transfers by Fiscal Year, by Immigration Court Location
  Source: EOIR, Statistics Yearbook 2017 (2018), at 16; EOIR, Statistics Yearbook 2016 (2017), at C8;
  EOIR, Statistics Yearbook 2015 (2016), at C8; EOIR, Statistics Yearbook 2014 (2015), at C7, EOIR,
                                Statistics Yearbook 2013 (2014), at C7.

   100,000
     90,000
     80,000
     70,000
     60,000
     50,000
     40,000
     30,000
     20,000
     10,000
          0
                   2013             2014                 2015            2016          2017
                                Inside 9th Circuit       Outside 9th Circuit



13. DHS’s authority to transfer asylum seekers from one jurisdiction to another also means that

individuals may be transferred outside the Ninth Circuit. There are significantly more ICE

detention centers outside of the Ninth Circuit (113) than inside of it (19). See Detention Facility

Locator, ICE.gov, https://www.ice.gov/detention-facilities (last accessed August 18, 2019). ICE

detention data produced through FOIA revealed that as of November 2017, ICE had an average

daily population of 35,350 people detained outside of the Ninth Circuit, compared to 9,908

people detained inside the Ninth Circuit. Nat’l Immigrant Justice Center, ICE Detention




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Case 3:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 5 of 5
         Case 3:19-cv-04073-JST Document 57-7 Filed 08/19/19 Page 1 of 3



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 2   Spencer Amdur (SBN 320069)                         Anand Balakrishnan*
     Julie Veroff (SBN 310161)                          ACLU FOUNDATION
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10                                  UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA

12   East Bay Sanctuary Covenant; Al Otro Lado;
     Innovation Law Lab; and Central American                Case No.: 3:19-cv-04073-JST
13   Resource Center in Los Angeles,
14                  Plaintiffs,
15
                    v.
16
     William Barr, Attorney General, in his official         [PROPOSED] ORDER GRANTING
17   capacity; U.S. Department of Justice; James             PLAINTIFFS’ EMERGENCY
     McHenry, Director of the Executive Office for           MOTION TO CONSIDER
18   Immigration Review, in his official capacity; the       SUPPLEMENTAL EVIDENCE AND
19   Executive Office for Immigration Review; Kevin          RESTORE THE NATIONWIDE
     McAleenan, Acting Secretary of Homeland                 SCOPE OF THE INJUNCTION
20   Security, in his official capacity; U.S. Department
     of Homeland Security; Ken Cuccinelli, Acting
21   Director of the U.S. Citizenship and Immigration
     Services, in his official capacity; U.S. Citizenship
22
     and Immigration Services; John Sanders,
23   Commissioner of U.S. Customs and Border
     Protection, in his official capacity; U.S. Customs
24   and Border Protection; Matthew Albence, Acting
     Director of Immigration and Customs
25   Enforcement, in his official capacity; Immigration
     and Customs Enforcement,
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27                  Defendants.

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         Case 3:19-cv-04073-JST Document 57-7 Filed 08/19/19 Page 2 of 3



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     **Pro hac vice application forthcoming
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          Case 3:19-cv-04073-JST Document 57-7 Filed 08/19/19 Page 3 of 3



 1           Plaintiffs’ motion to consider supplemental evidence and restore the nationwide scope of the

 2   injunction came before this Court for consideration on August __, 2019. Upon consideration of the

 3   motion, and for good cause shown, Plaintiffs’ motion is hereby GRANTED.

 4

 5   Date:                                                              ____________________

 6                                                                      United States District Judge

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               [Proposed] Order Granting Mot. to Supplement the Record and Restore Nationwide Relief
                                                                            Case No.: 3:19-cv-04073
